    Case 1:25-cv-11472-ADB    Document 48   Filed 05/28/25   Page 1 of 25



                   UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS


PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

                Plaintiffs,                         No. 25-cv-11472

           v.

UNITED STATES DEPARTMENT OF HOMELAND
SECURITY, et. al.

                Defendants.




         BRIEF OF THE COMMONWEALTH OF MASSACHUSETTS
AS AMICUS CURIAE IN SUPPORT OF HARVARD’S MOTION FOR PRELIMINARY
                                   RELIEF
                   (Leave to file granted on May 28, 2025)


                                  ANDREA JOY CAMPBELL
                                  Attorney General
                                  Commonwealth of Massachusetts

                                  Tasha Bahal, BBO# 675935
                                  Deputy State Solicitor
                                  One Ashburton Place
                                  Boston, MA 02108
                                  617-963-2066
                                  Tasha.Bahal@mass.gov
Case 1:25-cv-11472-ADB                        Document 48                  Filed 05/28/25                 Page 2 of 25




                                         TABLE OF CONTENTS



INTRODUCTION AND INTERESTS OF AMICUS .................................................... 1

ARGUMENT ..................................................................................................................... 3

     A. The Trump Administration is Weaponizing Immigration-Related Enforcement to
         Retaliate Against International Students and Academics...................................... 4

     B. The SEVP Revocation Will Inflict Irreparable Harm ............................................. 8

          1.         The Commonwealth Benefits From International Students Attending
                     Colleges and Universities and Will Suffer Irreparable Harm From the
                     SEVP Revocation ........................................................................................ 9

          2.         The Commonwealth and Its Institutions of Higher Education Are Harmed
                     By the Trump Administration’s Threats of Additional SEVP Revocations
                     ................................................................................................................... 13

          3.         The SEVP Revocation Harms Harvard’s Core Mission and Academic
                     Freedom in the Commonwealth ................................................................ 15

CONCLUSION ............................................................................................................... 17




                                                             ii
          Case 1:25-cv-11472-ADB                          Document 48                 Filed 05/28/25               Page 3 of 25




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                                                                        iii
          Case 1:25-cv-11472-ADB                         Document 48                Filed 05/28/25              Page 4 of 25




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                                                                   vi
       Case 1:25-cv-11472-ADB          Document 48        Filed 05/28/25      Page 7 of 25




                     INTRODUCTION AND INTERESTS OF AMICUS

       The Commonwealth of Massachusetts submits this brief in support of the President and

Fellows of Harvard College’s (Harvard) Motion for a Preliminary Injunction. Since its founding

in 1636, Harvard has been integral to the fabric and community of the Commonwealth of

Massachusetts by providing education, conducting world-class research, and sparking innovation.

Indeed, our state constitution has imposed a duty on the Commonwealth to protect and “cherish

the interests of literature and the sciences, and all seminaries of them; especially the [Harvard]

university at Cambridge,” because the “[w]isdom[] and knowledge” imparted by such institutions

is “necessary for the preservation of . . . rights and liberties” during “all future periods of this

[C]ommonwealth.” Mass. Const. Pt. II, c. 5, § 2.

       The Commonwealth benefits culturally, economically, and socially from each student who

attends Harvard, including international students. Accordingly, the Commonwealth supports

Harvard in this litigation because the Trump Administration’s unlawful policies have upended

Harvard’s ability enroll, educate, and employ international students. Without justification, the

Trump Administration has revoked Havard’s certification to the Student and Exchange Visitor

Program (SEVP).      This abrupt revocation has thrown the academic futures of countless

international students into turmoil and directly impacts the operation of higher education systems

within the Commonwealth—for example, currently enrolled international students at Harvard

were told to immediately transfer colleges or risk losing their lawful immigration status.

       The SEVP revocation prevents international students and academics from completing their

studies at Harvard—and potentially strips them of their lawful immigration status—and threatens

the Commonwealth’s academic institutions, economic prosperity, and global leadership in

education and scientific innovation. The impact of this revocation extends far beyond Harvard.

International students make considerable economic contributions to the Commonwealth, but their


                                                 1
       Case 1:25-cv-11472-ADB           Document 48        Filed 05/28/25       Page 8 of 25




importance transcends economics; they enrich the Commonwealth’s academic discourse,

strengthen its research capabilities, and enhance its global competitiveness. The Trump

Administration’s actions targeting international students and academics sends a chilling message

to talented students and academics around the world: that they risk an end to their academic career

in the United States (and potentially also risk detention and deportation) at the whims of the federal

government. This message weakens the Commonwealth’s position in the global competition for

talent and is antithetical to American values.

       International students are vital contributors to all higher education institutions in the

Commonwealth and to the state’s economy. International students create concrete financial

benefits to the Commonwealth; but even beyond their financial impact, international students

perform essential job functions, including on-campus in research laboratories, teaching positions,

and campus support services, that cannot be readily backfilled. International students constitute a

significant portion of graduate researchers in STEM fields, driving innovation that benefits both

academic institutions and the broader economy. By forcing international students to transfer out

of Harvard, and potentially out of the Commonwealth and the United States altogether, the Trump

Administration’s actions will irreparably harm the Commonwealth’s academic institutions and

economic health.

       Moreover, the Trump Administration’s revocation of Harvard’s SEVP certification is just

the latest act in its campaign of targeting international students and institutions with policies or

viewpoints with which the Administration disagrees. One international student aptly described

what it feels like to be at Harvard right now: “International students are being used as poker chips




                                                  2
          Case 1:25-cv-11472-ADB         Document 48        Filed 05/28/25      Page 9 of 25




in a battle between the White House and Harvard. It’s incredibly dehumanising.” 1 The student

continued: “We came here because of what America stands for: freedom of speech, academic

freedom, a vibrant intellectual community, and now Trump is threatening all those values.” 2

Massachusetts, however, continues to proudly stand for these values and submits this brief to urge

the Court to restore Harvard’s SEVP certification.

                                           ARGUMENT

          To obtain a preliminary injunction, Harvard must demonstrate a likelihood of success on

the merits, a likelihood of irreparable harm in the absence of relief, that the balance of equities is

in its favor, and that injunctive relief serves the public interest. Arborjet, Inc. v. Rainbow Treecare

Sci. Advancements, Inc., 794 F.3d 168, 171 (1st Cir. 2015). Massachusetts supports Harvard’s

arguments on all four elements but writes here to highlight two essential points.

          First, the Trump Administration has relentlessly targeted Harvard through grant

terminations worth billions of dollars and threats to remove Harvard’s non-profit status, but this

SEVP revocation must also be viewed through the wider lens of the Trump Administration’s policy

of wielding immigration-related enforcement against students, academics, and schools as

punishment for expressing disagreement with the Administration’s policies.               Second, the

retaliatory revocation will inflict irreparable harm on (1) Massachusetts—because international

students are a benefit to the Massachusetts economy, society, and discourse; (2) Massachusetts

institutions of higher education who fear threats by the Trump Administration for future SEVP




1
 Kayla Epstein, Trump administration ends Harvard’s ability to enroll international students BBC
NEWS (May 22, 2025), https://www.bbc.com/news/articles/c05768jmm11o.
2
    Id.


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          Case 1:25-cv-11472-ADB         Document 48       Filed 05/28/25     Page 10 of 25




revocations and who bear the weight of the administrative burdens to prepare and advise students

in uncertain and chaotic times; and (3) the very notion of academic freedom.

     A. The Trump Administration is Weaponizing Immigration-Related Enforcement to
        Retaliate Against International Students and Academics

           The revocation of Harvard’s SEVP certification is just the latest escalation of the Trump

Administration’s systematic targeting of individuals and institutions with whose policies the

Administration disagrees. The cost of the SEVP revocation will be felt by Harvard, of course, but

the direct human toll will hit thousands upon thousands of international students who will have

their lives and educations upended by this sudden, unlawful, and retaliatory action. Sadly, this is

nothing new for this Administration. The Administration has spent its first few months wielding

immigration enforcement against students and academics as punishment for those who have

exercised their First Amendment rights to express ideas with which the administration disagrees

or whose minor offenses should not incur immigration consequences.             For example, while

Secretary of State Marco Rubio confirmed that “[w]henever the government catches non-U.S.

citizens breaking our laws, we will take action to revoke their status,” 3 the Trump Administration

has not confined its actions to those who violate the law. In Secretary Rubio’s words, its policy

“extends to the thousands of foreign students studying in the United States who abuse our

hospitality.”4 The position of the Trump Administration is that even visa-holders who do not break

the law but instead “abuse[] our hospitality”—language that is inherently vague and subjective—




3
    Secretary of State Maro Rubio, 100 Days of an America First State Department, U.S.
DEPARTMENT OF STATE (Apr. 30, 2025), https://statedept.substack.com/p/100-days-of-an-america-
first-state-department?utm_campaign=post&utm_medium=web&triedRedirect=true.
4
    Id.


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          Case 1:25-cv-11472-ADB         Document 48       Filed 05/28/25      Page 11 of 25




would nonetheless find that “their visas are instantly revoked.” 5 The Administration has moved

aggressively to recast lawful behavior, or mere association with institutions like Harvard, as the

sort of “abuse” to be punished.

           In Massachusetts alone (as elsewhere), noncitizen students and academics at our colleges

and universities have experienced unlawful and devastating immigration consequences under the

Trump Administration’s punitive policies. As just one example, on March 25, plain-clothes ICE

agents in Somerville, Massachusetts surrounded Rümeysa Öztürk—an international Ph.D. student

at Tufts University—and took her into immigration custody, apparently for co-authoring an op-ed

in the school newspaper.6 Ozturk v. Trump, -- F. Supp. 3d.--, 2025 WL 1009445, at *1-4 (D. Mass.

Apr. 4, 2025). Ms. Öztürk, like other students across the country, was subjected to prolonged

immigration detention as part of the Trump Administration’s effort to use immigration laws to

punish noncitizen students associated with pro-Palestinian beliefs. See id. at *4 (“Ozturk’s case is

one of several cases in which the Trump Administration has implemented these Executive Orders

by revoking the immigration status of non-citizens who expressed support for Palestine.”).

           The Administration has also directly targeted Harvard students. For example, in February,

Kseniia Petrova—a Russian national, resident of Massachusetts, and researcher at Harvard—was

detained and held in immigration detention for months in Louisiana for a customs violation: failing

to declare, at Boston’s Logan airport, non-toxic frog embryos that Ms. Petrova was transporting




5
    Id.
6
   Ms. Öztürk filed a petition for a writ of habeas corpus in the U.S. District Court for the District
of Massachusetts. See Ozturk v. Hyde, No. 1:25-cv-10695-DJC, 2025 WL 942731 (D. Mass. Mar.
28, 2025). The Court initially ordered that she not be removed from the United States, see id., and
later transferred the case to Vermont. See Ozturk, 2025 WL 1009445, at *11. The Vermont Court
recently ordered that Ms. Öztürk be released from immigration detention. Ozturk v. Trump, No.
2:25-cv-374, 2025 WL 1355667, at *1 (D. Vt. May 9, 2025).


                                                   5
      Case 1:25-cv-11472-ADB           Document 48       Filed 05/28/25      Page 12 of 25




for research purposes at the request of her supervisor. Doe v. U.S. Dept of Homeland Security, et

al., 2:25-cv-00240 (D. Vt), Dkt. 1, ¶¶ 35-36, 39-40. Rather than issue a fine or penalty—as

applicable regulations dictate for proceeding through customs without properly declaring items—

Customs and Border Patrol disregarded standard practice and instead purported to cancel Ms.

Petrova’s visa. Id. ¶ 40. With her visa suddenly cancelled, Ms. Petrova was found to be

inadmissible and was placed in immigration detention in Louisiana. Id. ¶ 49; Dkt. No. 24 at 3-5.

She remained there for months—until recently, when again the Administration escalated its

punitive and cruel measures. Within hours after a judge heard argument in Ms. Petrova’s habeas

action and set a bail hearing, the government charged Ms. Petrova criminally with smuggling.

United States v. Kseniia Petrova, 1:25-mj-05150 (D. Mass).7 The charge of smuggling goods into

the United States provides for a sentence of up to 20 years in prison, a term of up to five years of

supervised release, and a fine of up to $250,000.8        18 U.S.C. § 545.      This punitive and

disproportionate response starkly illustrates the Administration’s willingness to weaponize both

immigration and criminal enforcement against international academics.

       The Trump Administration has targeted international students in other ways too, including

by wielding the SEVP program as a weapon against students (before now turning it against the

schools). Schools in Massachusetts (and across the country) recently found that the Trump

Administration had arbitrarily and unlawfully terminated the Student and Exchange Visitor

Information System (SEVIS) records of numerous international students without warning or



7
  Nate Raymond, Detained Russian-born Harvard scientist criminally charged with smuggling,
REUTERS (May 14, 2025), https://www.reuters.com/world/us/detained-russian-born-harvard-
scientist-criminally-charged-with-smuggling-2025-05-14/
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 Russian National Charged with Smuggling Biological Material Into Boston, U.S. ATTORNEY’S
OFFICE FOR THE DISTRICT OF MASSACHUSETTS (May 14, 2025), https://www.justice.gov/usao-
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                                                 6
           Case 1:25-cv-11472-ADB     Document 48       Filed 05/28/25      Page 13 of 25




notice.9 SEVIS is the interactive online database ICE uses to administer the SEVP and track the

status of nonimmigrant students participating in the program. See 8 C.F.R. § 214.3(g). Under

longstanding agency policy and practice, the termination of a SEVIS record imposed direct and

immediate adverse administrative consequences for schools and students, including but not limited

to the inability to re-enter the country, loss of employment authorizations, and in some cases, a

requirement that the impacted student leave the country.10 Understandably, the mass-termination

of SEVIS records without explanation caused panic and confusion as schools and students

struggled to understand the rationale and consequences of the terminations. 11 One former trial

attorney for the Justice Department described the SEVIS terminations as “an attack on students”

and described an effort by the current administration “to tag anyone they don’t like as a criminal

alien.”12 The Trump Administration had no lawful basis for the mass termination of international

students’ SEVIS records, which triggered a tsunami of litigation from affected students that

resulted in preliminary relief.13 Unable to defend its actions in court, the Trump Administration



9
   Brooke Hauser and Samantha J. Gross, Why are so many students in Mass. losing their visas?
The answer lies in a little-known database, THE BOSTON GLOBE (Apr. 15, 2025),
https://www.bostonglobe.com/2025/04/15/metro/student-visa-ice-higher-education;        Collin
Binkley, Annie Ma, and Makiya Seminera, Colleges say the Trump administration is using new
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12
     Id.
13
  See, e.g., Madan B. K. v. Noem, 1:25-cv-419, 2025 WL 1171572 (W.D. Mich. Apr. 23, 2025);
W.B. v. Noem, 25-cv-03407-EMC, 2025 WL 1180296 (N.D. Cal. Apr. 23, 2025); Alduaij v. Noem,



                                                7
       Case 1:25-cv-11472-ADB         Document 48        Filed 05/28/25     Page 14 of 25




opted to reinstate most of the terminated SEVIS records. 14

        The Trump Administration’s policy of punitive immigration enforcement—whether

through seizing and detaining students whose political views it disagrees with, like Ms. Öztürk;

detaining academics who fail to declare nontoxic substances, like Ms. Petrova; or effecting mass-

terminations of student records, which the administration could not even defend—is unlawful and

creates an atmosphere of fear amongst all immigrants, including students and academics, in

Massachusetts.

     B. The SEVP Revocation Will Inflict Irreparable Harm

        The harm inflicted on Harvard, see Dkt. 9 at 46-48, directly impacts the Commonwealth

because Harvard serves as a major economic driver, hub of innovation, and leading global

institution that attracts talent and investment to Massachusetts. Harvard’s presence significantly




2:25-cv-00538, 2025 WL 1180743 (W.D. Pa. Apr. 23, 2025); Vyas v. Noem, 3:25-0261, 2025 WL
1184118 (S.D.W. Va. Apr. 23, 2025); Yang v. Noem, 25-cv-292-wmc, 2025 WL 1166521 (W.D.
Wis. Apr. 22, 2025); Shaik v. Noem, 25-1584, 2025 WL 1170447 (D. Minn. Apr. 22, 2025); Doe v.
Noem, 3:25-cv-00023, 2025 WL 1161386 (W.D. Va. Apr. 21, 2025); Chen v. Noem, 1:25-cv-00733-
TWP-MG, 2025 WL 1163653 (S.D. Ind. Apr. 21, 2025); Patel v. Bondi, 1:25-cv-00103, 2025 WL
1158708 (W.D. Pa. Apr. 21, 2025); Ajugwe v. Noem, 8:25-cv-982-MSS-AEP, 2025 WL 1148689
(M.D. Fla. Apr. 18, 2025); Oruganti v. Noem, 2:25-cv-00409-ALM-EPD, 2025 WL 1144560 (S.D.
Ohio Apr. 18, 2025); Daou v. Noem, 8:25-cv-976-MSS-AEP, 2025 WL 1148687 (M.D. Fla. Apr.
18, 2025); Saxena v. Noem, 5:25-CV-05035-KES, 2025 WL 1149498 (D.S.D. Apr. 18, 2025);
Ariwoola v. Noem, 3:25-cv-03313-JDA, 2025 WL 1148491 (D.S.C. Apr. 18, 2025); Doe 1 v. Bondi,
1:25-cv-01998-VMC, 2025 WL 1188469 (N.D. Ga. Apr. 18, 2025); Doe v. Noem, 2:25-cv-01103-
DAD-AC, 2025 WL 1134977 (E.D. Cal. Apr. 17, 2025); Doe v. Noem, 2:25-cv-00633-DGE, 2025
WL 1141279 (W.D. Wash. Apr. 17, 2025); Patel v. Bondi, 1:25-CV-00101, 2025 WL 1134875
(W.D. Pa. Apr. 17, 2025); Roe v. Noem, CV 25-40-BU-DLC, 2025 WL 1114694 (D. Mont. Apr.
15, 2025); Isserdasani v. Noem, 25-cv-283-wmc, 2025 WL 1118626 (W.D. Wis. Apr. 15, 2025);
Ratsantiboon v. Noem, 25-CV-01315, 2025 WL 1118645 (D. Minn. Apr. 15, 2025); Hinge v. Lyons,
25-1087, 2025 WL 1134966 (D.D.C. Apr. 15, 2025); Liu v. Noem, 25-cv-133-SE, 2025 WL
1189760 (D.N.H. Apr. 10, 2025).
14
  Adrian Florido, Government says – for now – it will restore international students’ status, NPR
(Apr. 25, 2025), https://www.npr.org/2025/04/25/nx-s1-5377610/government-says-for-now-it-
will-restore-international-students-status.


                                                8
           Case 1:25-cv-11472-ADB        Document 48       Filed 05/28/25     Page 15 of 25




contributes to the Commonwealth’s economy in myriad ways, including through employment,

research funding, and tourism.15           Indeed, Harvard is the fourth largest employer in

Massachusetts.16 Its groundbreaking research initiatives drive technological advances, medical

breakthroughs, and scientific discoveries that directly benefit Massachusetts businesses, healthcare

institutions, and the broader community.17 Further, Harvard attracts talented individuals who often

remain in Massachusetts after they leave school, enhancing the state’s workforce, starting new

businesses, and contributing to local communities. Harvard-affiliated startups and ventures bolster

Massachusetts’ thriving technology, biotechnology, and healthcare sectors. 18 And Harvard is a

significant contributor to Massachusetts’ reputation as an international educational leader—

helping attract students and academics from around the globe. Thus, any harm to Harvard’s ability

to attract and retain top global talent translates directly into tangible and lasting harm on the

Commonwealth.

                      1. The Commonwealth Benefits From International Students Attending
                         Colleges and Universities and Will Suffer Irreparable Harm From the
                         SEVP Revocation

            The Trump administration’s revocation of Harvard’s SEVP certification—its latest effort

to target Harvard for its so-called “anti-American” values—severely disrupts the lives of thousands

of international students who will lose their ability to attend the school. Currently enrolled




15
    See, e.g., Harvard in Massachusetts: Facts & Impact (2020), https://community.harvard.edu/
files/comm/files/2020_facts_impact_a.pdf.
16
      Boston Business Journal,        Largest     Employers    in    Massachusetts          (2023),
https://www.bizjournals.com/boston/subscriber-only/2023/08/10/largest-employers-in-
massachusetts.html.
17
     Id.
18
    See generally Harvard Office of Technology Development, Harvard                       Startups,
https://otd.harvard.edu/impact/harvard-startups/ (last visited May 27, 2025).


                                                   9
      Case 1:25-cv-11472-ADB           Document 48         Filed 05/28/25    Page 16 of 25




international students were told to transfer schools or face losing their lawful immigration status,

creating abrupt disruption to their education, careers, and lives.

        The negative effect on international students will reverberate beyond Harvard and will be

felt throughout the Commonwealth. International students and academics contribute substantially

to the economic, cultural, and intellectual vitality of the Commonwealth. They enrich campus life

through their diverse perspectives and contributions to innovation and research advancements that

help maintain the competitiveness and prestige of our colleges and universities. Their presence

deepens relationships that create long-term advantages for the Commonwealth’s economic

development, cultural enrichment, and international standing.          International students and

academics also generate significant tax revenue, fill critical workforce gaps, and start businesses

that create jobs.

        International students are vital to the success of the Commonwealth’s academic

institutions. During the 2023 to 2024 school year, Massachusetts hosted 82,306 international

students who supported more than 35,000 jobs and contributed approximately $3.9 billion annually

to the economy through tuition, living expenses, and related spending. 19 These students and

academics bring diverse perspectives that enhance the Commonwealth’s educational

environments, with international students and scholars fostering global awareness and cross-

cultural understanding in classrooms and research settings. 20 These interactions expand students’



19
    See NAFSA: Association of International Educators, NAFSA International Student Economic
Value Tool (2023-24), https://www.nafsa.org/policy-and-advocacy/policy-resources/nafsa-
international-student-economic-value-tool-v2 (last visited May 27, 2025).
20
       Empirical research suggests that academic performance improves as the
percentage of immigrant students increases. See Paul N’Dri Konan, et al., Cultural Diversity in the
Classroom and its Effects on Academic Performance: A Cross-National Perspective, 41 SOC.
PSYCH. 230-37 (2010). See also Judit Kende, et al., Social and institutional inclusion in



                                                 10
           Case 1:25-cv-11472-ADB         Document 48       Filed 05/28/25     Page 17 of 25




worldviews, build cultural empathy, and help develop them into global leaders.                   The

Commonwealth’s public colleges and universities are deeply committed to global engagement,

partnering with international counterparts to facilitate research projects and academic programs all

over the world.21 These programs reflect the reciprocal benefits conferred by foreign exchange:

the Commonwealth gains economically, socially, and culturally from the presence of international

students and academics while the international community benefits immensely by the knowledge-

sharing and global problem-solving these exchanges allow.

            International students and academics also bolster the Massachusetts economy, labor force,

and local communities in several important ways. Immigrant-led households in Massachusetts,

for example, earned over 15% of all income earned in the Commonwealth in 2014. 22 “With those

earnings, the state’s foreign-born households were able to contribute more than one in every seven

dollars paid by Massachusetts residents in state and local tax revenues, payments that support

important public services such as public schools and police.” 23 Immigrants make up a large portion

of the Massachusetts labor force (21.9%) and a disproportionate share of the Commonwealth’s

entrepreneurs (27%), STEM workers (29.3%), and health aides (38.6%). 24 Simply put, noncitizen



multi-ethnic schools enable better intergroup relations for majority youth and higher school
achievement for minority youth, 103 INT’L J. OF INTERCULTURAL RELS. (Nov. 2024),
https://www.sciencedirect.com/science/article/pii/S0147176724001573
21
         See, e.g., University of Massachusetts Amherst, Global Partnerships,
https://www.umass.edu/global-affairs/global-partnerships (last visited Apr. 10, 2025).
22
   New American Economy, The Contributions of New Americans in Massachusetts 7 (Aug. 2016),
https://www.newamericaneconomy.org/wp-content/uploads/2017/02/nae-ma-report.pdf.
23
     Id.
24
  American        Immigration           Council,        Immigrants        in      Massachusetts,
https://map.americanimmigrationcouncil.org/locations/massachusetts/ (last visited May 27, 2025).
See generally, Aidan Enright, et al., International Students: Poorly Suited Immigration Pathways
Stymie Formation of High Growth Businesses 4, Pioneer Institute, (July 2024),



                                                   11
      Case 1:25-cv-11472-ADB           Document 48        Filed 05/28/25      Page 18 of 25




residents provide an enormous benefit to the Commonwealth’s fiscal health and global

competitiveness.

       The Trump Administration’s punitive immigration-related enforcement threatens those

benefits by forcing international students to leave Harvard. International students who are being

forced to transfer schools may have to leave the Commonwealth or be unable to continue their

scholarship to the detriment of their peers and the larger academic landscape. The effect on

prospective students is also dire. For those admitted to the upcoming academic year, international

students face a calamitous choice of abandoning their education at one of the world’s most

renowned schools (and dream of attending Harvard, a school they likely worked their entire lives

to gain admission) or leaving their world-class education vulnerable to the whims of an

Administration intent on targeting and punishing Harvard. 25       And prospective students in the

future likely will not want to chance traveling to the United States to attend college or university

only to be told their school can no longer sponsor them. The SEVP revocation thus also threatens

Harvard’s ability to recruit and retain international talent as prospective students express concerns

about visa stability, weakening institutional diversity and global competitiveness.




https://files.eric.ed.gov/fulltext/ED656349.pdf (“A significant body of research has found that
immigrants are more likely to start businesses than those born in the U.S., and the propensity of
international students to concentrate in STEM fields indicates enormous potential for economic
contributions.”).
25
    Indeed, just in the last day, the Trump Administration continued its attacks on Harvard by
announcing it is canceling the remaining government contracts with Havard, worth an estimated
$100 million. See Mike Damiano, Trump administration tells federal agencies: Stop doing
business      with      Harvard,      THE     BOSTON        GLOBE        (May      27,     2025),
https://www.bostonglobe.com/2025/05/27/metro/trump-harvard-funding-contracts-cuts/
(describing the Trump Administration’s directive to all federal agencies to terminate any existing
contracts with Harvard).


                                                 12
           Case 1:25-cv-11472-ADB       Document 48      Filed 05/28/25     Page 19 of 25




            The United States—and Massachusetts in particular given our world-class colleges and

universities—is facing an impending brain drain as a result of the Trump Administration’s actions:

in a recent survey of 690 postgraduate students, 548 had considered leaving the United States. 26

Other countries are already using this opportunity to recruit talented students and academics to

study and work abroad rather than in Massachusetts.27 For example, scientists in Massachusetts

are already “receiving overtures” from countries in the Middle East, Europe, and China. 28

Massachusetts would be significantly harmed by the loss of top scientific talent and the resulting

loss of competitive advantage in key subject areas, such as artificial intelligence, biomedical

industries, and defense research.29

                      2. The Commonwealth and Its Institutions of Higher Education Are
                         Harmed By the Trump Administration’s Threats of Additional SEVP
                         Revocations

            Through Harvard’s SEVP revocation, the Trump Administration has threatened the

Commonwealth’s communities, economy, and standing as a research hub and a leader in higher

education. But the threat does not end there. Secretary Noem has made clear that the revocation

at Harvard is just the beginning and warned other schools that the same fate could befall them. 30




26
  Michael T. Nietzel, Has the Brain Drain From U.S. Universities Already Begun?, FORBES (Mar.
31, 2025), https://www.forbes.com/sites/michaeltnietzel/2025/03/31/has-the-brain-drain-from-us-
universities-already-begun/.
27
   Hilary Burns, et al., Healey sounds alarm over foreign recruiting of Mass. scientists, THE
BOSTON GLOBE (Mar. 20, 2025), https://www.bostonglobe.com/2025/03/19/metro/china-foreign-
governments-recruit-massachusetts-scientists-trump-cuts/.
28
     Id.
29
   Id.
30
   Nate Raymond, et al., Trump Administration Blocks Harvard From Enrolling Foreign Students,
Threatens       Broader        Crackdown,         REUTERS        (May          23,       2025),
https://www.reuters.com/world/us/trump-blocks-harvards-ability-enroll-international-students-
nyt-reports-2025-05-22/.


                                                 13
      Case 1:25-cv-11472-ADB           Document 48         Filed 05/28/25      Page 20 of 25




She publicly threatened similar revocations for other colleges and universities: “This should be a

warning to every other university to get your act together. Get your act together, because we are

coming to make sure that you are facilitating an environment where students can learn, where

they’re safe and that they’re not discriminated against based on their race or their religion.” 31 But

rather than provide that safe environment, the Administration is punishing institutions precisely

because they are committed to protecting their students and academic freedom. If this pattern

continues, the consequences for higher education in Massachusetts will be far-reaching.

        The Commonwealth is home to numerous public and private institutions of higher

education and recognizes that SEVP termination for any of those schools would be devastating.

For example, if a public school of higher education were to lose SEVP status, the loss of

international students would result in the immediate loss of tuition revenues for the school. And

students may transfer out of the United States or disenroll from school out of fear of the

immigration consequences that might follow. These departing students would no longer pay

tuition, housing, dining, and other fees, directly threatening the financial stability of a public

institution. That loss would be particularly acute because international students pay higher tuition

rates, which enhances public universities’ ability to serve lower-income in-state students by

subsidizing reduced tuition rates for domestic students.

       Indeed, administrative burdens have already increased at Massachusetts colleges and

universities because of the Trump Administration’s actions with respect to the SEVP. Institutions

are now actively monitoring individual student SEVIS records because the administration began



31
   Id.; see also Filip Timotija, Noem: Harvard international students ban a ‘warning’ to other
universities, THE HILL (May 23, 2025), https://thehill.com/homenews/education/5315551-kristi-
noem-harvard-university-ban-international-enrollment-warning/.



                                                 14
      Case 1:25-cv-11472-ADB           Document 48         Filed 05/28/25        Page 21 of 25




abruptly terminating them without formal notification and then reversed course suddenly, again

without notification. And now schools are on high alert regarding their own SEVP certifications.

Institutions of higher education are spending significant time and effort attempting to provide

proper guidance and support to international students, who rightly have many questions and fear

for their ability to continue with their education. Individual institutions have likely spent hundreds

of personnel hours attempting to navigate these issues—time that is taken away from managing

the regular operations of a campus including, but not limited to, instruction.

                   3. The SEVP Revocation Harms Harvard’s Core Mission and Academic
                      Freedom in the Commonwealth

       The Commonwealth recognizes that the SEVP revocation is part of a continuum of punitive

and retaliatory attacks against Harvard and higher education generally. Harvard’s ability to

challenge these attacks is integral to the preservation of academic independence and integrity. If

allowed to stand, the Commonwealth fears damage to every aspect of the academic ecosystem. As

the Supreme Court has observed, “[s]cholarship cannot flourish in an atmosphere of suspicion and

distrust” and to impose such an atmosphere “would imperil the future of our Nation.” See Sweezy

v. N.H. ex rel. Wyman, 354 U.S. 234, 250 (1957). “Our Nation is deeply committed to safeguarding

academic freedom, which is of transcendent value to all of us.” Keyishian v. Bd. of Regents of

Univ. of N.Y., 385 U.S. 589, 603 (1967).

       Both Harvard and the Commonwealth are harmed when international students and

academics are targeted due to punitive and retaliatory motives. At the individual level, classroom

discussions become artificially constrained as international participants either stop attending

altogether or self-censor to avoid expressing perspectives on issues that might be deemed

controversial, especially on topics of public interest and import. “Teachers and students must

always remain free to inquire, to study and to evaluate, to gain new maturity and understanding;



                                                 15
      Case 1:25-cv-11472-ADB           Document 48        Filed 05/28/25      Page 22 of 25




otherwise our civilization will stagnate and die.” Sweezy, 354 U.S. at 250. In fact, speech on

topics of public interest enjoys greater constitutional protection, not less. See Snyder v. Phelps,

562 U.S. 443, 452 (2011) (“[S]peech on public issues occupies the highest rung of the hierarchy

of First Amendment values, and is entitled to special protection.” (citation omitted)). That

heightened protection is most necessary in the classroom, where students must challenge one

another’s assumptions, broaden one another’s perspectives, and ultimately educate one another

through the collision of diverse viewpoints. That is why the First Amendment simply “does not

tolerate laws that cast a pall of orthodoxy over the classroom” because “[t]he classroom is

peculiarly the ‘marketplace of ideas.’” Keyishian, 385 U.S. at 603.

       At the institutional level, as a direct result of losing international students, Harvard faces

multifaceted harm to its academic programs, research initiatives, extracurricular activities,

teaching responsibilities, and overall institutional mission. This includes disruption to essential

research and teaching activities when international students working in vital academic positions,

including curriculum-related training and practical training programs, must abruptly depart.

Securing qualified replacements will be difficult (or impossible) in the timeframe required to

maintain research continuity and grant funding. 32

       Moreover, academic inquiry is compromised when scholars fear retaliatory conduct by its

government (including immigration consequences for the institution’s students). That fear erodes

intellectual pursuits. For example, a college or university may abandon promising areas of

research, decline to challenge prevailing orthodoxies, or temper their findings to avoid conclusions



32
   Beyond the classroom itself, revocation of Harvard’s SEVP will also harm campus operations
when student workers in critical non-academic roles—such as dining halls, libraries, and residence
halls—are abruptly removed with little opportunity for planned transition. These harms, too, will
hamper Harvard’s ability to carry out its core mission.


                                                16
      Case 1:25-cv-11472-ADB          Document 48         Filed 05/28/25    Page 23 of 25




that might be dissatisfactory to the federal government. 33 See Wieman v. Updegraff, 344 U.S. 183,

221-22 (1952) (Frankfurter, J., concurring) (noting a university ”will function for the benefit of

society, provided it is a center of independent thought”). These harms undermine core educational

missions by potentially forcing the university to cancel courses, terminate employees, and reduce

services that all students (domestic and international alike) and faculty depend upon, thereby

causing both immediate and lasting harm to the institution and to the pursuit of academia.

                                             *        *     *

       If the Administration’s actions are allowed to stand, international students may not come

to Massachusetts, and the Commonwealth’s colleges and universities—Harvard and beyond—will

lose their academic freedom and standing as global beacons for education. We cannot afford to let

that happen.34

                                        CONCLUSION

       For the foregoing reasons, the Commonwealth of Massachusetts respectfully requests that

the Court grant Harvard’s Motion for a Preliminary Injunction.




33
   See Miri Yemini, Bridging Borders: Toward Equity in International Research Collaborations,
NAFSA       (Nov./Dec.      2024),     https://www.nafsa.org/professional-resources/research-and-
trends/trends-insights/bridging-borders-novdec24 (“International research collaborations have
become essential tools in advancing knowledge, offering benefits to researchers, practitioners,
higher education institutions, nation-states, international organizations, and funding agencies.”).
34
   See Liam Knox, International Enrollment’s Precarious Moment, Inside Higher Ed (Mar. 19,
2025), https://www.insidehighered.com/news/global/international-
studentsus/2025/03/19/colleges-fear-decline-international-student.


                                                 17
Case 1:25-cv-11472-ADB     Document 48   Filed 05/28/25     Page 24 of 25




 Respectfully submitted,                     Dated: May 28, 2025

                                      ANDREA JOY CAMPBELL
                                       Attorney General of Massachusetts


                                      By: /s/ Tasha Bahal

                                      Tasha Bahal, BBO# 675935
                                      Deputy State Solicitor
                                      One Ashburton Place
                                      Boston, MA 02108
                                      Office of the Attorney General
                                      1 Ashburton Pl.
                                      Boston, MA 02108
                                      (617) 963-2066
                                      Tasha.Bahal@mass.gov

                                      Counsel for the Commonwealth of
                                      Massachusetts




                                 18
      Case 1:25-cv-11472-ADB           Document 48       Filed 05/28/25        Page 25 of 25




                                CERTIFICATE OF SERVICE

       I, Tasha Bahal, hereby certify that I have this day, May 28, 2025, served the foregoing
document upon all parties of record, by electronically filing to all ECF-registered parties and by
sending a copy, first-class mail, postage prepaid to all unregistered parties.

                                                             /s/ Tasha Bahal
                                                             Tasha Bahal




                                                19
